                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
__________________________________________
                                           )
ADAM CAMOBRECO,                            )
                                           )
                        Plaintiff,         )      Civil Action No.
                                           )      19-cv-10242-GAO
v.                                         )
                                           )
IBM CORPORATION,                           )
                                           )
                        Defendant.         )
__________________________________________)

                  PLAINTIFF’S OPPOSITION TO DEFENDANT’S
                SECOND MOTION TO DISMISS AND PLAINTIFF’S
              MEMORANDUM IN SUPPORT OF ITS RULE 56(d) MOTION

       The Plaintiff, Adam Camobreco, hereby opposes Defendant’s Second Motion to Dismiss,

has moved this Court, pursuant Fed. R. Civ. P. 56(d), for time to conduct discovery in this

matter, and submits this memorandum in support of his opposition to Defendant’s Second

Motion to Dismiss and in support of his Rule 56(d) motion.

                                                Introduction

       In this action, Plaintiff, a former sales employee of Defendant IBM Corporation (referred

to as “Defendant” or “IBM”), entered into a unilateral contract in which IBM offered to pay

Plaintiff a commission if he closed the Crittenton Deal (Compl. ¶ 8)1 by a particular date.

Plaintiff accepted the offer via his performance, closed the Crittenton Deal, and IBM promptly

reneged on its agreement to pay the commission.

       On January 4, 2018, the Plaintiff filed this action in Massachusetts Superior Court

alleging that IBM breached the unilateral contract and violated the Massachusetts Payment of

Wage Act Mass. Gen. Laws ch. 149, § 148 (the “Wage Act”) by failing to pay him the Crittenton

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       “Compl.” refers to the First Amended Complaint Plaintiff filed in this case on February 21, 2018.
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Deal commission. On February 6, 2019, Defendant removed this action to this Court. On

February 13, 2019, Defendant filed a motion to dismiss the complaint and a memorandum in

support thereof (called, for purposes of this opposition, the “Initial Motion to Dismiss”).

       On February 21, 2019, Plaintiff filed his First Amended Complaint in which he added

counts for quantum meruit and unjust enrichment.           On that same date, Plaintiff filed his

Opposition to Defendant’s Motion to Dismiss and filed a Rule 56(d) Motion. Instead of filing a

rebuttal to Plaintiff’s opposition, an opposition to the Rule 56(d) Motion and a motion to dismiss

the two counts added in the First Amended Complaint, on March 7, 2019, Defendant filed a

second motion to dismiss and a memorandum in support thereof (called, for purposes of this

opposition, the “Second Motion to Dismiss”). Defendant’s Second Motion to Dismiss is largely

identical to the Initial Motion to Dismiss, except that the Defendant clarified its argument

regarding its motion to dismiss the breach of contract claim based on Plaintiff’s argument in his

opposition to the Initial Motion to Dismiss. In this opposition to Defendant’s Second Motion to

Dismiss, Plaintiff reasserts the arguments contained in his initial opposition, provides additional

arguments to rebut the new material Defendant added to its Second Motion to Dismiss regarding

the breach of contract claim, and opposes Defendant’s motion to dismiss the unjust enrichment

and quantum meruit claims. In addition, Plaintiff here restates his memorandum in support of

his Rule 56(d) Motion, so that the court is not required to refer to the prior opposition in order to

read that memorandum.

                                        Statement of Facts

       In about April 2016, Plaintiff began working for Defendant as a sales employee. In

January 2018, Plaintiff was promoted to Client Executive, and he was assigned a geographical

territory in Massachusetts. (Compl. ¶¶ 3 and 4)
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       At the time of this change, Plaintiff was permitted to continue to work on and receive

commissions for five deals on which he had been working (called “Holdover Deals”). Plaintiff

was told that if his Holdover Deals closed by March 31, 2018, he would receive a commission

for those deals. (Compl. ¶¶ 5 and 6) Plaintiff was told that if a Holdover Deal was close to

closing as of March 31, 2018, he could request an exception to the March 31 closing date

requirement and still receive the commission for the deal. (Compl. ¶ 7)

       One of Plaintiff’s Holdover Deals, with Ascension Healthcare (“Ascension”) for

Crittenton Hospital (called the “Crittenton Deal”) effectively closed prior to March 31, 2018, but

Defendant failed to pay Plaintiff the commission due for that deal. (Compl. ¶ 8) Prior to March

31, 2018, Plaintiff repeatedly contacted various members of Defendant’s management to make

sure that he would get the commission on the Crittenton Deal. (Compl. ¶ 12) Defendant’s

management repeatedly told Plaintiff to continue working on the Crittenton Deal, and no other

sales employee was assigned to work on the deal. (Compl. ¶ 13)

       At the time, Plaintiff had already participated in a review and hand-off to other

employees for all Ascension deals on which he had been working, other than the Crittenton Deal.

No such review or hand-off was requested for the Crittenton Deal. Instead, Plaintiff continued to

monitor the Crittenton Deal to its conclusion, though no additional work was required after

March 31, 2018 to close the deal. (Compl. ¶¶ 14 and 15) Thereafter, the Defendant failed and

refused to pay Plaintiff the commission due him on the Crittenton Deal. (Compl. ¶¶ 19)
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                                           Argument

I.     Defendant’s Second Motion to Dismiss Should Be Denied Because The Document On
       Which Defendant Relies Was Not The Basis Of The Contract Between The Parties.

       In its Second Motion to Dismiss, the Defendant conveniently fails to acknowledge the

most crucial requirement for deciding a Rule 12(b)(6) motion, that is, that “the court may

consider only the facts alleged in the pleadings, documents attached as exhibits or incorporated

by reference in the complaint, and matters of which judicial notice may be taken.” See Samuels

v. Air Transp. Local 504, 992 F.2d 12, 15 (2d Cir.1993). In deciding such a motion, the Court

must merely determine whether the allegations of the complaint constitute a statement of claim

under the liberal pleading requirements of Rule 8(a) of the Federal Rules of Civil Procedure. See

Santiago v. Garcia, 70 F. Supp. 2d 84, 86 (D.P.R. 1999).” Nolett v. Justices of the Trial Court of

Mass., 83 F. Supp.2d 204, 208 (D. Mass. 2000) aff’d 248 F.3d 1127 (1st Cir. 2000).

       To circumvent this requirement, IBM claims that the document attached as Exhibit A to

its Second Motion to Dismiss (called the “Incentive Plan Letter” or “IPL”) constitutes the

contract between Plaintiff and Defendant that is the subject of Plaintiff’s Complaint. In its

Second Motion to Dismiss, IBM asserts that “[b]ecause Plaintiff’s commission payments were

governed by the terms of his IPL, Plaintiff incorporated the IPL into the Complaint by

affirmatively alleging that IBM failed to pay him commission for the Crittenton Deal.”

       For support in this proposition, IBM relies on Mederios v. Lenovo (United States), Inc.,

No. 15-CV-10261-LTS, 2016 U.S. Dist. LEXIS 15469, at *13-14 (D. Mass. Jan. 27, 2016).

There, the plaintiff sued defendant for breach of warranty, and the court allowed consideration of

the warranty document. The Mederios case is inapplicable here, since the IPL was not the

contract under which Plaintiff has sued Defendant.
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       Here, Plaintiff’s breach of contract claim is based not on the terms of the IPL but rather

on a unilateral contract that was made between the parties between about January and about May

2018 (Compl. ¶¶ 3 through 12). This unilateral contract, separate and apart from the IPL,

required Plaintiff to work on the Crittenton Deal, despite the fact that his job duties had changed,

and if he closed the deal, IBM would pay him a commission for his work. Defendant accepted

the contract via his performance, closed the Crittenton Deal, and IBM then refused to pay him

the promised commission. In so doing, IBM breached its unilateral contract with Plaintiff and

violated the Wage Act. Since the contract at issue here was a unilateral contract between the

parties and not the IPL, the Court cannot consider the terms of the IPL in ruling on the Second

Motion to Dismiss.2 Thus, as the IPL is not the contract over which Plaintiff sued Defendant,

this Court must deny Defendant’s Second Motion to Dismiss.

II.    Defendant Failed To Provide Appropriate Authentication For the IPL Attached To Its
       Second Motion to Dismiss, And Therefore This Court May Not Rely On That Document
       For Support.

       Rule 12 of the Federal Rules of Civil Procedure, provides that “[i]f on a motion under

Rule 12(b)(6) . . . , matters outside the pleadings are presented to and not excluded by the court,

the motion must be treated as one for summary judgment under Rule 56. All parties must be

given a reasonable opportunity to present all the material that is pertinent to the motion.” Rule

56, in turn, requires, among other things, authentication of any documents submitted for

consideration by the Court: “A party asserting that a fact cannot be or is genuinely disputed

must support the assertion by: (A) citing to particular parts of materials in the record, including

depositions, documents, electronically stored information, affidavits or declarations, stipulations

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       In support of its claim that Plaintiff somehow incorporated by reference the IPL into his breach of contract
       claim, Defendant asserts that paragraphs 16 and 19 of the Complaint somehow refer to IPL. In fact, those
       two paragraphs of the Complaint refer to the fact that IBM failed to pay him a commission (promised as
       part of the unilateral contract and not by way of the IPL) on the unilateral contract; they do not in anyway
       refer to or incorporate the IPL into the Complaint.
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(including those made for purposes of the motion only), admissions, interrogatory answers, or

other materials.”

       In its Initial Motion to Dismiss, Defendant failed to authenticate the IPL via an affidavit

or by any other means. After Plaintiff pointed this fact out to Defendant in Plaintiff’s initial

opposition, Plaintiff submitted a declaration in which an IBM Vice President asserts that the IPL

attached to the Second Motion to Dismiss is “an Incentive Plan Letter” that Plaintiff “accepted.”

The declaration attached to the Second Motion to Dismiss fails to appropriately authenticate the

IPL attached to the Second Motion to Dismiss.

       Despite the Defendant’s attempt at authentication, the IPL document, on its face, does not

indicate that it is an agreement between Plaintiff and IBM. It does not bear Plaintiff’s signature,

and although it purports to claim that Plaintiff accepted the document, IBM provided no

evidence that that is in fact the case. In effect, IBM is asking the Court to “trust us.” This Court

cannot exercise that kind of trust as a basis for dismissal of Plaintiff’s Complaint. Instead, the

Court must exclude the IPL from its consideration of Defendant’s Motion to Dismiss.

III.   Even If The Court Treats Defendant’s Second Motion To Dismiss As One For Summary
       Judgment, That Motion Must Be Denied Because Defendant Has Failed To Comply With
       The Requirements Of Local Rule 56.1.

       Although Defendant has not requested the Court to consider its Second Motion to

Dismiss as one for Summary Judgment under Rule 56, such a request must be denied, and, along

with it, the Second Motion to Dismiss, because Defendant has failed to comply with the

requirements of Local Rule 56.1. Local Rule 56.1 provides, in relevant part, that “[m]otions for

summary judgment shall include a concise statement of the material facts of record as to which

the moving party contends there is no genuine issue to be tried, with page references to

affidavits, depositions and other documentation. Failure to include such a statement constitutes
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grounds for denial of the motion.” See Cousin v. Harold, 238 F. Supp.2d 357, 363 (D. Mass.

2002). Without such a concise statement, it is impossible for the court to discern whether there

is, in fact, a material factual dispute barring summary judgment. For this reason also, the Court

should deny Defendant’s Second Motion to Dismiss.

IV.    Even If The Court Treats The Second Motion To Dismiss As One For Summary
       Judgment, The Court Should Deny The Motion, And Grant Plaintiff’s Rule 56(d) Motion,
       Since Plaintiff Has Had No Opportunity To Conduct Any Discovery In This Case.

       The American legal system dispensed with the concept of trial by ambush hundreds of

years ago, and developed the concept of discovery. Here, IBM would have the Court return to a

trial by ambush model. IBM filed its Second Motion to Dismiss before providing Plaintiff with

its required disclosures pursuant to Rule 26(a) of the Federal Rules of Civil Procedure, then

cherry-picked the document it disclosed by attaching it as an exhibit to its Second Motion to

Dismiss, as the sole support for its Motion. It has provided no evidence that, even if the IPL

formed a part of the contract that is the basis for Plaintiff’s claim (which it does not), the

document attached to its Second Motion to Dismiss is, in fact, an IPL to which the parties had

agreed. Again, in effect, IBM is saying to this Court, “trust us on this one.”

       As noted above, Plaintiff has moved this Court to permit the parties to conduct discovery

as normally permitted under the Federal Rules of Civil Procedure and the Local Rules of this

Court, pursuant to Rule 56(d), and has submitted the Affidavit of Judith A. Miller in support of

this motion. Rule 56(d) provides, in relevant part:

       If a party opposing the motion [for summary judgment] shows by affidavit that,
       for specified reasons, it cannot present facts essential to justify its opposition,
       the court may:

               (1)     deny the motion [for summary judgment];
               (2)     order a continuance to enable affidavits to be obtained,
                       depositions to be taken, or other discovery to be undertaken; or
               (3)     issue any other just order.
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       Although technically, parties can file for summary judgment at any time, courts generally

defer ruling on summary judgment motions until the parties have completed discovery. Id.

Under these circumstances, Courts require the party invoking Rule 56(d) to show that additional

discoverable materials are likely to be obtained that are likely to create a genuine issue of

material fact. Id. at 364.

       Here, Plaintiff has not had the opportunity to conduct any discovery whatsoever, and

there is a whole host of documents and information that are likely to be uncovered that will not

only create a genuine issue of material fact but will support Plaintiff’s breach of contract and

wage act claims. Plaintiff should be entitled to conduct discovery in this matter with the same

freedom and lack of constraint as he would have been accorded in this matter absent Defendant’s

Second Motion to Dismiss, but, because of the requirements of Rule 56(d), the following are

examples of some (but not all) of the documents and information Plaintiff should be able to

obtain before the court rules of Defendant’s Second Motion to Dismiss. For example, Plaintiff

should be permitted to obtain documents, including emails and other electronic records, and

depose witnesses, to prove the formation of the unilateral contract, separate and apart from any

IPL, to prove that Plaintiff in fact performed the requirements of the unilateral contract, and to

prove that Defendant breached that contract.

       In sum, Defendant has attempted to foreclose Plaintiff’s right to conduct discovery in this

matter by filing its Second Motion to Dismiss before any discovery has been conducted. This

strategy violates both the letter and spirit of the Federal Rules of Civil Procedure. As such, the

Court must deny Defendant’s Second Motion to Dismiss and allow Plaintiff to fully conduct

discovery by granting Plaintiff’s Rule 56(d) Motion.
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V.      Defendant’s Substantive Arguments for Dismissal Have No Merit.

        A.      Plaintiff’s Breach of Contract Claim.

                1.     The parties entered into an enforceable unilateral contract.

        In its Second Motion to Dismiss, Defendant claims that Plaintiff has not alleged an

enforceable oral contract, claiming that the oral contract was silent as to how the commissions

would be calculated. In fact, the Court easily and clearly can infer from the language of the

complaint that both parties understood that the promised commission would be calculated in the

usual way in which Plaintiff’s commissions had been calculated in the past (though not based on

the terms of the IPL, as the unilateral contract superseded those terms). Paragraph 6 of the

Complaint specifically states, “Plaintiff was told that if his Holdover Deals closed by March 31,

2018, he would receive a commission for those deals.” The court certainly can infer from this

that the parties understood that the commission would be calculated as commissions had been

calculated in the past. As such, the Complaint clearly states all of the material terms of the

unilateral contract.

                2.       IBM did not retain sole discretion to adjust Plaintiff’s commissions.

        IBM also argues that since the IPL that it purports forms the basis of the contract that

Plaintiff asserts it breached, and the IPL includes a provision that IBM can change or cancel the

IPL at whim, IBM was under no obligation to pay Plaintiff the commission. This argument is

misplaced.

        In fact, the Complaint alleges that the parties entered into a unilateral contract, separate

and apart from the IPL, that IBM breached. Under Massachusetts law, “[w]hen an offer calls for

an act or conduct to be performed by the offeree, and the offeree performs that act or conduct in

accordance with the offer, the offeree has accepted the offer, the offeror has received valuable
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consideration, and a unilateral contract is formed.” McQueen v. True Partners Consulting LLC,

2011 Mass. Super. LEXIS 108 *; 28 Mass. L. Rep. 411 (Jan. 7, 2011) citing Northampton Inst,

for Savings v. Putnam, 313 Mass. 1, 7 (1943). Here, the Complaint makes clear that IBM’s offer

to receive a commission in exchange for closing the Crittenton Deal did not include a term by

which the Defendant could modify the agreement. More importantly, once the offeree performs

under a unilateral contract, the offeror cannot then retroactively change the terms of the deal. As

such, IBM had no right to revoke the unilateral contract after Plaintiff performed all of his

obligations under the unilateral contract.

       In its Second Motion to Dismiss, Defendant asserts that “numerous courts across the

country – including four Circuit Courts of Appeals—have address this exact scenario and have

dismissed nearly identical breach of contract claims seeking unpaid commissions in light of clear

disclaimers in IBM’s incentive plans.” This statement is misleading; in fact in each of these

cases, the employee sued IBM because it failed to follow the terms of an IPL and not because it

entered into a unilateral contract that IBM breached. In Wilson v. IBM, 610 Fed. Ap’x 886, 889-

89 (11th Cir. 2015) (an unpublished, per curium decision), Kavitz v. IBM, 458 F. App’x 18 (2nd

Cir. 2012), Jensen v. IBM, 454 F.3d 382 (4th Cir. 2006), and Schwarzkopf v. IBM, No. C 08-

2715, 2010 U.S. Dist LEXIS (N.D. Cal. 2010), the courts did not dismiss the cases as the result

of a motion to dismiss, but rather, dismissed on a motion for summary judgment. Moreover, in

each of these cases the issue was the manner in which a commission was calculated, and not

whether the employee was being compensated for work performed. Moreover, the employees in

each of these cases admitted that the basis for the breach of contract claim was IBM’s IPL. Here,

the basis for Plaintiff’s claim is a unilateral contract, and not the IPL. In Geras v. IBM, 638 F.3d

1311 (10th Cir. 2011), Morris v. IBM, 1:18cv-0042-LY (W.D. Tex. Feb. 4, 2019), Fessler v. IBM,
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1:18-cv-798, 2018 U.S. Dist. LEXIS 202725 (E.D. Va. Nov. 28, 2018), Pfeister v. IBM, No. 17-

cv-03573, 2017 US Dist. LEXIS 170970 (N.D. CAL. Nov. 4, 2010), G.S. (Steve) Rapier v. IBM,

No. 1:17-cv-4640-MHC, 2018 U.S. Dist. LEXIS 117504 (N.D. Ga. Apr. 12, 2018), Kemp v.

IBM, No. 3:09-cv-03683, 2010 U.S. Dist. LEXIS 118801, at *13-14 (N.D. Cal. Nov. 4, 2010),

Gilmour v. IBM, No. CV 09-04155, 2009 U.S. Dist. LEXIS 127142, at *7 (C.D. Cal. Dec. 16,

2009), and Rudolph v. IBM, 2009 U.S. Dist. LEXIS 75261, at *9-11 (N.D. Ill. Aug. 21, 2009),

although the courts decided these cases based on a motion to dismiss, the plaintiffs in each of

these cases claimed that IBM breached the IPL. Again, here, Plaintiff’s breach of contact action

is based on his unilateral contract to perform certain work, which he did, and pursuant to which

IBM failed to pay him. Therefore, these cases lend IBM no support in its Second Motion to

Dismiss.

        In its Second Motion to Dismiss, the Defendant tries to characterize the unilateral

contract between Defendant and Plaintiff on which Plaintiff’s complaint is based as a “side

agreement” that required a “meeting of minds.” In support, Defendant cites two cases, Fessler v.

IBM, and Vinson v. IBM, 1:17-cv-00798, 2018 U.S. Dist. LEXIS 164042, at *8-9 (M.D.N.C.

Sept, 25, 2018). Both of these cases are easily distinguishable. In each of these cases, the

plaintiff argued that a PowerPoint and management statements that IBM would not cap the

plaintiffs’ commissions constituted a side agreement between IBM and its employees. Unlike

the instant case, those agreements require a “meeting of the minds.” Here, no such assent was

required; all that was required was Plaintiff’s PERFORMANCE of the offer, that is, effectively

closing the Crittenton Deal by March 31, 2018. Thus, those cases do not lend IBM any support

here.
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       3.      The Complaint Sufficiently States Facts to Support a Claim That IBM Breached
               Its Unilateral Contract With Plaintiff

       In its Second Motion to Dismiss, Defendant argues that the Crittenton Deal did not close

by March 31, 2018, that that was a requirement of the unilateral contract, and therefore, there

was no breach of the unilateral contract. Simply put, Defendant’s reading of the Complaint is

incorrect.

       The Complaint specifically states that the Crittenton Deal closed prior to March 31, 2018.

(Compl. ¶¶ 8 and 9) Although IBM may have decided to recognize the revenue from the

Crittenton Deal at a later date, the Complaint makes clear that Plaintiff closed the Crittenton Deal

prior to March 31, 2018. Thus, this argument cannot form the basis for this Court to dismiss

Plaintiff’s breach of contract claim.

       4.      Even Based On the Terms Contained in Defendant’s IPL Exhibit, Defendant Had
               No Right To Deny Plaintiff the Commission On The Crittenton Deal

       Contrary to Defendant’s contentions, the IPL, by its terms, does not permit IBM to

withhold a commission already earned. Thus, even based on the terms of the IPL, IBM breached

its agreement with Plaintiff.

       The IPL states that it gives IBM the “right to adjust Plan terms” or to “modify or cancel

the Plan [as a whole]” but it does not give IBM the “right” to withhold a commission on one

particular deal after the work on that deal has been completed. The provision on which IBM

hangs its hat provides:

       Right to Modify or Cancel: IBM reserves the right to adjust the Plan terms,
       including, but not limited to, changes to sales performance objectives, assigned
       territories or account opportunities, applicable incentive payment rates or similar
       earnings opportunities, or to modify or cancel the Plan, for any individual or
       group of individuals, including withdrawing an offered or accepted Incentive Plan
       Letter.
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In the laundry list of things the IPL says IBM can do to adjust commissions, the IPL does not

provide that IBM can simply refuse to pay the employee on a particular deal after the employee

closes the deal. The plain meaning of the IPL allows IBM to “adjust the Plan terms” or “modify

or cancel the Plan,” but IBM did neither of those things in this case. Here, IBM refused, after the

fact, to pay any commission at all to Plaintiff; even if the terms of the IPL governed payment of

this commission (which it does not), the IPL does not give IBM the “right” to withhold a

commission already earned. For this reason, as well, the Court must deny Defendant’s motion to

dismiss Plaintiff’s contract claim.

       B.      Plaintiff’s Wage Act Claim.

       Defendant has moved to dismiss Plaintiff’s claim under the Wage Act, claiming that the

commission denied to Plaintiff did not constitute wages as defined by the Wage Act.

Specifically, IBM claims that the commission was a discretionary incentive award, like a bonus.

IBM appears to acknowledge that under the Wage Act, the “payment of commissions” represents

wages “when the amount of such commissions, less allowable or authorized deductions, has been

definitely determined and has become due and payable to such employee.” Mass. Gen. Laws ch.

149, § 148. IBM claims that the commission on the Crittenton Deal could not be “definitely

determined” because the IPL gives it discretion to modify or cancel the plan. This argument fails

on a number of grounds.

       Most importantly, the Wage Act prohibits employers from including a provision in a

commission plan that allows the employer to renege on paying a commission once the employee

has done the work required to earn the commission. The Wage Act specifically provides that "no

person shall by a special contract with an employee or by any other means exempt himself” from

the timely payment of wages to that employee. Mass. Gen. Laws ch. 149, §148. Once an
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employee earns the commission, his employer may not by contract reduce or fail to pay the

commission earned, even if the employee agrees to such a term. Meschino v. Frazier Indus. Inc.,

2015 U.S. Dist. LEXIS 155997, 2016 U.S. Dist. LEXIS 100363 (D. Mass. 2016).

       Massachusetts case law makes clear that the “right to modify or cancel” provision

contained in the IPL is just such a prohibited special contract. In Meschino, this court ruled that

a provision in the plaintiff’s commission plan that allowed the employer to deduct certain sums

from an employee’s commissions for losses sustained on jobs the employee sold, was just such a

prohibited special contract.

       Similarly, in Awuah v. Coverall N. Am., Inc., 460 Mass. 484 (2011), the SJC ruled that

once the employee completed his work, the employer could not reduce an employee’s

commission for that work, even if the employer’s customer failed to pay the employer for the

work employee performed. The SJC acknowledged that any type of holdback or deduction from

a commission, once it is earned, constitutes an impermissible special contract. The Court

explained:

       [t]he Wage Act requires an employer to pay “the wages earned” to an employee
       within a fixed period of days after the end of a pay period. G.L. c. 149, § 148. The
       word “earn” is not statutorily defined, but its plain and ordinary meaning is “[t]o
       acquire by labor, service, or performance,” or “[t]o do something that entitles one
       to a reward or result, whether it is received or not.” Black's Law Dictionary 584
       (9th ed. 2009). Where an employee has completed the labor, service, or
       performance required of him, therefore, according to common parlance and
       understanding he has “earned” his wage.

Id. at 492. Once the wages are earned, the employer may not reduce or fail to pay them for any

reason, even if the employee agreed to such a reduction. Id.

       In McAleer v. Prudential Ins. Co. of Am, 928 F. Supp. 2d 280 (D. Mass. 2013), this Court

held that a provision similar to the IPL provision was a prohibited special contract. There, the

employer claimed that because its commission plan entitled it to withhold commissions from an
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employee in its discretion, the commissions could never be definitely determined and, therefore,

were not wages. This Court disagreed and denied Defendant’s motion to dismiss McAleer’s

Wage Act claim, explaining:

       Prudential argues that because the plan affords it complete discretion for
       interpretation and payment calculation - including discretion to determine whether
       McAleer was eligible to receive commissions as an active employee in good
       standing - McAleer's commissions cannot be arithmetically determinable. This
       argument fails. Discretion prevents commissions from being definitely
       determined if the employer is under no obligation to award them. See Weems v.
       Citigroup Inc., 453 Mass. 147, 900 N.E.2d 89, 94 (Mass. 2009) (holding that the
       "operative fact" in finding discretionary bonuses not to be definitely determined is
       "not [that] they are labeled bonuses, but [that] the employers are, apparently,
       under no obligation to award them"). While Prudential exercises substantial
       discretion in the administration of the commission plan, the commissions are
       not themselves discretionary. The plan does not afford Prudential carte blanche to
       withhold or modify commission payments for any reason. It simply affords
       discretion over factual determinations, calculations, and eligibility. To interpret
       the discretion under the plan as broadly as Prudential would have it would render
       the plan meaningless.

Id. at 287-288. Thus, under the Wage Act, contracts whereby employers can withhold earned

commissions once the work has been done are prohibited. The IPL is just such a contract, and,

therefore, it cannot be used to defeat a claim for a commission, once the work has been done.

Here, Plaintiff worked on and closed the Crittenton Deal, and under the Wage Act, the

commission is definitely determined and due and payable. As such, Defendant has no basis for

its motion to dismiss Plaintiff’s Wage Act claim.

       Defendant also argues that the Complaint does not state the basis on which the

commission would be calculated, and therefore it does not constitute “wages.” This argument is

misplaced. The Complaint makes clear that all parties understood that the commission on the

Crittenton Deal would be calculated in the manner that Plaintiff’s commissions had been

calculated in the past. Thus, the Complaint alleges that the amount of the commission was
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definitely determined and due and payable, and therefore, the court must deny the motion to

dismiss Plaintiff’s Wage Act Claim on this basis, as well.

         Finally, contrary to Defendant’s assertion, even if the IPL was not a prohibited special

contract, by its terms, it does not permit IBM to withhold a commission already earned, and,

therefore, it does not render such commissions undeterminable. The IPL states that it gives IBM

the “right to adjust Plan terms” or “modify or cancel the Plan” but it does not say that IBM has

the “right” to withhold commissions once those commissions have been earned. That paragraph

provides:

         Right to Modify or Cancel: IBM reserves the right to adjust the Plan terms,
         including, but not limited to, changes to sales performance objectives, assigned
         territories or account opportunities, applicable incentive payment rates or similar
         earnings opportunities, or to modify or cancel the Plan, for any individual or
         group of individuals, including withdrawing an offered or accepted Incentive Plan
         Letter.

In the laundry list of things the IPL says IBM can do to adjust commissions, the IPL does not

provide that IBM can retroactively refuse to pay the employee on a particular deal. Like the plan

at issue in McAleer, allowing IBM to interpret the IPL “as broadly as [IBM] would have it would

render the plan meaningless.” Thus, even if the IPL governed Plaintiff’s work on and closing of

the Crittenton Deal, the IPL did not give IBM the ability to simply refuse to pay him the

commission, once the work had been completed.

         In sum, Plaintiff closed the Crittenton Deal, and IBM failed to pay him the commission

that was due and owing him for that deal. IBM’s failure to pay Plaintiff is a violation of the

Wage Act. Therefore, this Court must deny Defendant’s motion to dismiss Plaintiff’s Wage Act

claim.
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       C.      Plaintiff’s Unjust Enrichment and Quantum Meruit Claims

       In its Second Motion to Dismiss, Defendant claims that Plaintiff could not have had a

reasonable expectation of receiving payment for the Crittenton Deal because the IPL allegedly

gave IBM the discretion to refuse payment for any reason. This argument, like Defendant’s

argument regarding Plaintiff’s breach of contract claim, is based on the mistaken notion that

Plaintiff’s claim is based on the terms of the IPL. It is not. Plaintiff’s claim here is based on

IBM’s representation that if Plaintiff closed the Crittenton Deal by March 31, 2018, the

Company would pay him a commission for that work. (Compl. ¶ 6) This was an offer that was

separate and apart from the content of the IPL. Plaintiff worked on and closed the Crittenton

Deal before March 31, 2018, further reinforcing the reasonable expectation that he would be paid

for his work. (Compl. ¶ 8) Taking the facts in the light most favorable to Plaintiff, it is clear that

the offer that IBM made was not contingent upon the content of the IPL and, therefore,

Plaintiff’s expectation of payment was certainly reasonable.

       Again, the cases on which Defendant relies for support are inapplicable to this situation.

In those cases, the statements on which the plaintiff relied were simply statements of what IBM

intended to do pursuant to the content of the IPL at issue in those cases. There, plaintiff did not

have to take any action or change position to obtain the promised benefit. Here, the Plaintiff

performed a substantial amount of work to close the Crittenton Deal in reliance on the promise

that he would be paid a commission for his work. IBM received the benefit of Plaintiff’s work

but failed to compensate him for the value of that work. Thus, the case here is distinguishable

from the cases Defendant cites. As Plaintiff here has made out all of the elements for his claims

of unjust enrichment and quantum meruit, this court must deny Defendant’s motion to dismiss

counts III and IV of the First Amended Complaint.
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                                          Conclusion

       For all of the foregoing reasons, Plaintiff requests that this court deny Defendant’s

Second Motion to Dismiss, grant Plaintiff’s Rule 56(d) motion, and order the parties to proceed

with required disclosures and discovery in the normal course.

                                                      ADAM CAMOBRECO

                                                      By His Attorney,

                                                      __/s/Judith A. Miller_____________
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                                 CERTIFICATE OF SERVICE

       This is to certify that a copy of the foregoing document was served upon Jamie L. Kessler,
Jackson Lewis P.C., 75 Park Plaza, Boston, MA 02116, and Justin R. Barnes and Kelli N. Church,
Jackson Lewis P.C. 1155 Peachtree Street, NE, Suite 1000, Atlanta, GA 30309 via the Court’s
Electronic Filing System pursuant to Local Rule 5.2(b) on March 19, 2019.

                                                      ___/s/Judith A. Miller______
                                                      Judith A. Miller
